






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00128-CR






Leroy Manning, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT


NO. 2022703, HONORABLE CHARLES F. BAIRD, JUDGE PRESIDING






O R D E R


PER CURIAM

The reporter's record was due to be filed on February 11, 2003.  The court reporter
failed to respond to this Court's notice that the reporter's record is overdue.  See Tex. R. App. P.
35.3(c), 37.3(a)(2).

Appellant is represented by appointed counsel on appeal, as he was at trial.  We
assume that if there were any question whether appellant is indigent, the district court would not
have appointed counsel.

The district court is instructed to order the preparation of the reporter's record at no
cost to appellant.  The court reporter for the 403rd District Court, Ms. Joni Salminen, is ordered to
file the reporter's record no later than June 27, 2003.  No further extension of time will be granted.


It is ordered May 27, 2003.


Before Chief Justice Law, Justices B. A. Smith and Puryear

Do Not Publish


